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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: CHRISTOPHER A. JANCZAK

C.A. No. 24-3274

NOTICE

The record on appeal from the Bankruptcy Court in the above captioned case was
entered on the docket in this office on 8 /19/24 has been assigned to the Honorable John F.
Murphy

The following is the schedule for filing briefs with this office:

(1) The Appellant shall serve and file his brief within 30 days after entry of the record
on appeal.

(2) The Appellee shall serve and file his brief within 30 days after service of the brief
of the Appellant.

(3) The Appellant may serve and file a reply brief within 14 days after service of the
brief of the Appellee.

GEORGE WYLESOL
Clerk of Court

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rard Lavin, Deputy Clerk

By:

civ651.frm
(06/2016)
